Case 2:04-Cr-20136-BBD Document 61 Filed 07/25/05 Page 1 of 2 Page|D 69

UNITED sTATEs DISTRICT coURT F:u~:n ny iam D
WESTERN DIsTRICT oF TENNESSEE ""“""` `C'
Western Division 05 JUL 25 PH 5: |l,

UNITED STATES OF AMERICA

_vs-

 

NATASHA RENEE DONELLY

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Aecordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' Probation/Supervised Release Violation

DONE and ORDERED in 167 North Main, Memphis, this V?J_fh ____day of July, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Ofi`lce

Assistant Federal Public Defender
lntake

NATASHA RENEE DONELLY
Thls document entered on the dockets ;(ée
with Hu|e 55 and!or 32(|:)) FHCrP on . »

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:04-CR-20136 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

